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14                                   UNITED STATES DISTRICT COURT
15                                  NORTHERN DISTRICT OF CALIFORNIA
16
17 SHIRIN DELALAT, on behalf of herself, all              Case No.   4:16-cv-00711 HSG
     others similarly situated, and the general public,
18                                                        DECLARATION OF L. LISA SANDOVAL IN
                       Plaintiff,                         SUPPORT OF DEFENDANT’S OPPOSITION
19                                                        TO PLAINTIFF’S MOTION FOR CLASS
                       vs.                                CERTIFICATION
20
     NUTIVA, INC.,
21                                                        Date:      February 8, 2018
                       Defendant.                         Time:      2:00 p.m.
22                                                        Place:     Courtroom 2, 4th Floor
23
                                                          Complaint Filed:    January 8, 2016
24                                                        Trial Date:         None Set
25
26
27
28
     NUT04-02:2083310_1:12-1-17                  -1-
        DECLARATION OF L. LISA SANDOVAL IN SUPPORT OF DEFENDANT’S OPPOSITION TO PLAINTIFF’S
                                  MOTION FOR CLASS CERTIFICATION
           Case 4:16-cv-00711-HSG Document 128-4 Filed 12/01/17 Page 2 of 3



 1            I, L. Lisa Sandoval, declare as follows:
 2            1.       I am an attorney with Call & Jensen, APC. I make this Declaration based on my own
 3 personal knowledge and work on this matter. If called as a witness, I could competently testify to the
 4 facts stated herein.
 5            2.       I researched variations in the laws of the 50 states and the District of Columbia
 6 regarding consumer protection, implied warranty of merchantability, and express warranty causes of
 7 action—the three causes of action on which Plaintiff seeks class certification.
 8            3.       Attached hereto as Exhibit 1 is a true and correct copy of the chart summarizing
 9 variations among the jurisdictions for consumer protection statutes.
10            4.       Attached hereto as Exhibit 2 is a true and correct copy of the chart summarizing
11 variations among the jurisdictions for implied warranty of merchantability claims.
12            5.       Attached hereto as Exhibit 3 is a true and correct copy of the chart summarizing
13 variations among the jurisdictions for an express warranty claim.
14
15            I declare under penalty of perjury under the laws of the United States of America that the
16 foregoing is true and correct. This declaration was executed on December 1, 2017, at Newport Beach,
17 California.
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19                                                  /s/ L. Lisa Sandoval
                                                    L. Lisa Sandoval
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     NUT04-02:2083310_1:12-1-17                  -2-
        DECLARATION OF L. LISA SANDOVAL IN SUPPORT OF DEFENDANT’S OPPOSITION TO PLAINTIFF’S
                                  MOTION FOR CLASS CERTIFICATION
           Case 4:16-cv-00711-HSG Document 128-4 Filed 12/01/17 Page 3 of 3



1                                      CERTIFICATE OF SERVICE
2             I hereby certify that on December 1, 2017, I electronically filed the foregoing document
3 described as DECLARATION OF L. LISA SANDOVAL IN SUPPORT OF DEFENDANT’S
4 OPPOSITION TO PLAINTIFF’S MOTION FOR CLASS CERTIFICATION with the Clerk of
5 the Court using the CM/ECF System which will send notification of such filing via electronic mail to
6 all counsel of record.
7
                                                /s/ William P. Cole
8                                               William P. Cole
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     NUT04-02:2083310_1:12-1-17                  -3-
        DECLARATION OF L. LISA SANDOVAL IN SUPPORT OF DEFENDANT’S OPPOSITION TO PLAINTIFF’S
                                  MOTION FOR CLASS CERTIFICATION
